 Case 1:17-cv-03234-RJD-TAM Document 159 Filed 09/19/22 Page 1 of 2 PageID #: 1755




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STE:PHE:N .J. BLUME:RT                                                             FRANK HANDE:LMAN
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     VIA ECF

     Honorable Raymond J. Dearie
     United States District Court Judge
     Eastern District of New York
     225 Cadman Plaza East
     Brooklyn, NY 11201

                Re:       Milan Heggs et al. v. The City of New York et al.,
                          17-CV-3234 (RJD)(TAM)

     Your Honor:

            I am a partner at Beldock Levine & Hoffman LLP, one of the counsel for Plaintiffs in the
     above-referenced action. Plaintiffs’ motion for class certification and accompanying papers have
     been submitted to Defendants. This includes the notice of motion; memorandum of law in
     support of the motion; a declaration by David B. Rankin; an affirmation by Timothy A. Clune of
     Disability Advocates, Inc.; affirmations by Kathleen M. Collins and Jean Ryan of Disabled In
     Action; a declaration by Michael L. Spiegel; and accompanying exhibits.

             Additionally, Plaintiffs request the Court’s permission to file a memorandum of law in
     support of their motion for class certification of 35 pages. The basis for this request include the
     breadth of factual issues presented, facts developed in discovery, and the complexity of the legal
     issues. Defendants do not consent to this request. Should the request for additional pages be
Case 1:17-cv-03234-RJD-TAM Document 159 Filed 09/19/22 Page 2 of 2 PageID #: 1756

  BELDOCK LEVINE        & HOFFMAN LLP
  Hon. Raymond J. Dearie
  September 19, 2022
  Page 2

  denied, we respectfully request an additional 48 hours from the order to submit a 25-page brief.
  Defendants consent to Plaintiffs having an additional two days to submit a 25-page brief.

         We thank Your Honor for considering this request.

                                                      Respectfully submitted,



                                                      David B. Rankin

  CC: Mark Toews; Ellen Mulqueen; Rachel Marcoccia
